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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MOSES T. BILITY, PhD,                            )
                                                  )   Case No. 2:23-cv-00770-MJH
                        Plaintiff,                )
                                                  )
                v.                                )
                                                  )
 THE UNIVERSITY OF PITTSBURGH                     )
 DEAN DONALD BURKE, and DEAN                      )
 MAUREEN LICHTVELD,                               )
                                                  )
                        Defendants.               )

                                STIPULATION OF DISMISSAL

       The parties to the above-captioned civil action, pursuant to Rule 41(a)(1)(ii) of the Federal

Rules of Civil Procedure, hereby stipulate to the dismissal with prejudice of this civil action.



                                                      Respectfully submitted,

/s/ Moses T. Bility (by consent)                      /s/ Jeremy D. Engle
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                                                      Counsel for Defendants




It is so ordered this 13th day of February 2025

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Marilyn J. Horan
United States District Judge
